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 2
 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 4
 5      UNITED STATES OF AMERICA,
 6                                                                 Case No. CR02-0063 MJP
                                  Plaintiff,
 7                        v.                                       INITIAL ORDER RE:
                                                                   ALLEGATIONS OF
 8      TAMALA JEAN NOLAND,                                        VIOLATION OF
                                                                   CONDITIONS OF
 9                               Defendant.                        SUPERVISION

10
11          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of supervision.
12
                The plaintiff appears through Assistant United States Attorney, BARBARA SIEVERS.
13
                The defendant appears personally and represented by counsel, BRUCE ERICKSON.
14
            The U.S. Pretrial Services Office has filed a petition alleging violations of the terms and
15   conditions of supervision; the defendant has been advised of the allegation(s), her right to a hearing,
     and the maximum potential sanctions if found to be in violation.
16
                Counsel have jointly advised the court as follows:
17
                1) defendant intends to ADMIT that she violated the conditions of supervision by committing
18              the crime of unlawful possession of a controlled substance with intent to deliver, to wit, cocaine,
                for which she was convicted on November 3, 200f, in violation of the general condition of
19              supervision which states that the defendant shall not commit another federal, state, or local
                crime, as alleged in the violation report dated November 21, 2005.
20
            2) government will WITHDRAW or ask the court to dismiss all other alleged violations of s
21   upervision as set forth in petitions dated May 25, 2005 and August 23, 2005.

22           The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
            petition to be held at the time and date below set forth before Judge MARSHA J. PECHMAN.
23
                               Date of hearing:             JULY 27, 2006 – 11:00 a.m.
24
            IT IS ORDERED that the defendant be detained for failing to show that he/she will not flee or
25   pose a danger to any other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be
     delivered as ordered by the court for further proceedings.
26          The clerks shall direct copies of this order to counsel for the United States, to counsel for the
     defendant, the United States Marshal and to the United States Pretrial Services Office.
27                                                      July 20, 2006.
                                                        _
28                                                      /s/ J. Kelley Arnold ______________
                                                        J. Kelley Arnold, U.S. Magistrate Judge

     ORDER
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     ORDER
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